                  N THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.

                       Plaintiffs,                 Case No. 1:20-cv-00442

v.

Dairy Farmers of America, Inc.,

                       Defendant.


               PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY
                    AND MANDATORY MEET AND CONFER

       Pursuant to Federal Rules of Civil Procedure 26 and 34, and Local Rule 16.1(f),

Plaintiffs Food Lion, LLC (“Food Lion”), and the Maryland and Virginia Milk Producers

Cooperative Association, Inc. (“MDVA”), by and through undersigned counsel, and

hereby request that the Court enter an order granting limited expedited discovery that is

narrowly tailored to gather information relevant to Plaintiffs’ Motion for Preliminary

Injunction against Defendant Dairy Farmers of America, Inc. (“DFA”) [ECF No. 13], and

that requires the parties to meet and confer promptly about relevant discovery and

briefing issues.

       Contemporaneous with the filing of this motion, Plaintiffs have submitted a

supporting memorandum of law pursuant to Local Rule 7.3(a).

       Plaintiffs therefore ask that the Court issue an order providing the following:




      Case 1:20-cv-00442-CCE-JLW Document 20 Filed 05/28/20 Page 1 of 5
a.    that Plaintiffs’ Motion for Expedited Discovery and Mandatory Meet and

      Confer be granted;

b.    that DFA provide the previously-produced documents request in Request

      Nos. 1 and 4 in Plaintiffs First Set of Request for Production, attached as

      Exhibit A to this motion, within three (3) business days of the entry of the

      order, or at such other time as may be mutually agreed by the parties;

c.    that DFA provide documents in response to all other Requests in Plaintiffs’

      First Set of Requests for Production, attached as Exhibit A to this motion,

      within fourteen (14) days of the entry of the order, or at such other time as

      may be mutually agreed by the parties;

d.    that the parties engage in a Local Rule 16.1(f) Conference within three (3)

      business days of the Court’s order and be prepared to discuss at the same

      time any objections to specific discovery requests; a schedule for

      propounding and responding to any additional discovery believed necessary

      by either party in connection with Plaintiffs’ Motion for Preliminary

      Injunction, including any depositions; and any proposals concerning

      briefing or scheduling of Plaintiffs’ motions.




Case 1:20-cv-00442-CCE-JLW Document 20 Filed 05/28/20 Page 2 of 5
DATED: May 28, 2020              Respectfully submitted,

                                 HUNTON ANDREWS KURTH LLP

                                 s/ Ryan G. Rich
                                 A. Todd Brown, Sr., N.C. State Bar No. 13806
                                 Ryan G. Rich, N.C. State Bar No. 37015
                                 101 South Tryon Street, Suite 3500
                                 Charlotte, North Carolina 28280
                                 Telephone: (704) 378-4700
                                 tbrown@huntonak.com
                                 rrich@huntonak.com

                                 Ryan P. Phair (pro hac vice forthcoming)
                                 John S. Martin (admitted pro hac vice)
                                 Kevin Hahm (admitted pro hac vice)
                                 Carter C. Simpson (admitted pro hac vice)
                                 2200 Pennsylvania Avenue, NW
                                 Washington, DC 20037
                                 Telephone: (202) 955-1500
                                 rphair@huntonak.com
                                 martinj@huntonak.com
                                 khahm@huntonak.com
                                 csimpson@huntonak.com

                                 Attorneys for Food Lion, LLC

                                 TROUTMAN SANDERS LLP

                                 s/ Jason D. Evans
                                 Jason D. Evans, N.C. State Bar No. 27808
                                 301 S. College Street, 34th Floor
                                 Charlotte, NC 28202
                                 Telephone: (704) 916-1502
                                 jason.evans@troutman.com

                                 James A. Lamberth (admitted pro hac vice)
                                 600 Peachtree Street, NE, Suite 3000
                                 Atlanta, GA 30308
                                 (404) 885-3362
                                 james.lamberth@troutman.com




    Case 1:20-cv-00442-CCE-JLW Document 20 Filed 05/28/20 Page 3 of 5
                             Attorneys for Maryland and Virginia Milk
                             Producers Cooperative Association, Inc.




Case 1:20-cv-00442-CCE-JLW Document 20 Filed 05/28/20 Page 4 of 5
                           CERTIFICATE OF SERVICE

      I hereby certify that on May 28, 2020, I electronically filed this document with the

Clerk of the Court using the CM/ECF system, and that said document was served on the

defendant via UPS Overnight Mail, addressed as follows:

DAIRY FARMERS OF AMERICA, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

                                         /s/ Ryan G. Rich
                                            Ryan G. Rich




     Case 1:20-cv-00442-CCE-JLW Document 20 Filed 05/28/20 Page 5 of 5
